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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                            )
 DEFENSE OF FREEDOM                         )
 INSTITUTE FOR POLICY                       )
 STUDIES, INC.,                             )
                                            )
       Plaintiff,                           )
                                            )       Civil Action No. 24-1563 (TJK)
               v.                           )
                                            )
U.S. DEPARTMENT OF EDUCATION,               )
                                            )
       Defendant.                           )
                                            )

                                 JOINT STATUS REPORT

       Plaintiff, the Defense of Freedom Institute for Policy Studies (“Plaintiff” or “DFI”), and

Defendant, the United States Department of Education (“Defendant”), by and through undersigned

counsel, hereby submit this joint status report in this Freedom of Information Act (“FOIA”) case

pursuant to the Minute Order of the Court dated January 22, 2025.

       Plaintiff submitted a FOIA request to Defendant U.S. Department of Education (“the

Department”) on April 18, 2022, seeking particular records of the Department’s Communications

with Teachers Unions regarding the Charter Schools Program proposed rulemaking. (FOIA

request number 22-02518-F. ECF No. 1 at 5. Plaintiff filed the complaint on May 28, 2024 (ECF

No. 1). Defendant answered on July 8, 2024 (ECF No. 10). Plaintiff’s FOIA request seeks records

related to the Defendant’s proposed changes to its Charter Schools Program policies.

       The Defendant issued its final response to the FOIA request on September 30, 2024. 709

pages have been released with information withheld pursuant to FOIA Exemption (b)(6). On

January 17, 2025, Defendant provided to Plaintiff a search summary, which details the scope of

the search performed, and a draft Vaughn index for review.
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       Plaintiff has questions about Defendant’s production and whether all responsive records

have been produced and would like to discuss the scope of the search terms applied and whether

they align with the original FOIA request. Plaintiff does not believe that many of the documents

provided are responsive to the FOIA request which sought “records relating to the Department’s

proposed changes to its Charter Schools Program…in particular, the manner in which outside

groups may have affected the Department’s CSP rulemaking and policy agenda.” (ECF No.1, at

*2). Instead, the production largely consists of what the Department’s own computer system

identifies as “Suspect Bulk Mail,” mass newsletters from the National Education Association, as

well as guides explaining to consumers on how Federal Emergency Aid works. It also includes

several DOE Guidance documents and handbooks that the Department itself produced to handle

COVID-19 school reopenings, staff shortages, and discrimination.

       In addition, Plaintiff would also like to discuss the types of records that were requested and

which have still not been produced, such as texts, LinkedIn Messages, messages sent via X

(previously known as Twitter) and other types of messages which are subject to FOIA requests,

but have not been produced in the previous tranches. Plaintiff will be providing Defendant with a

summary of their position and the parties will be having a meet and confer on March 13, 2025.

The parties will discuss any remaining issues prior to seeking intervention by the Court.

       The parties propose that they file their next Joint Status Report on or before May 5, 2025 to apprise

the Court of the status and further proceedings.

 Dated: March 5, 2025                              Respectfully submitted,
        Washington, DC
                                                   EDWARD R. MARTIN, Jr.
                                                   United States Attorney

                                                   BRIAN P. HUDAK
                                                   Chief, Civil Division
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